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12
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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF JEFFREY KLEIN,
                                     Plaintiffs,           OF CHIEF OPERATING OFFICER OF
18
                                                           THE LGBT COMMUNITY CENTER,
19          v.                                             IN SUPPORT OF PLAINTIFF’S
                                                           COMPLAINT AND MOTION FOR
     DONALD J. TRUMP, in his official capacity as          PRELIMINARY INJUNCTION
20     President of the United States, et al.
21
                                     Defendants.
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                  AND MOTION FOR PRELIMINARY INJUNCTION CASE NO. 4:25-cv-1824 JTS
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 1          I, Jeffrey Klein, declare as follows:

 2          1.      I am the Chief Operating Officer for Plaintiff The Lesbian and Gay Community

 3   Services Center, Inc. d/b/a The LGBT Community Center (“NY LGBT Center”). Except where

 4   stated upon information and belief, I have personal knowledge of the facts stated herein and, as to

 5   those matters stated to be upon information and belief, I believe them to be true. If called upon, I

 6   could and would competently testify to the matters stated herein.

 7          2.      I submit this Declaration in support of Plaintiffs’ Motion for a Preliminary

 8   Injunction in the above-captioned matter with respect to three executive orders that are an

 9   existential threat to the NY LGBT Center and the LGBTQ+ community it serves: (i) Executive

10   Order No. 14168 “Defending Women From Gender Ideology Extremism and Restoring Biological

11   Truth to the Federal Government”; (ii) Executive Order No. 14151, “Ending Radical and Wasteful

12   Government DEI Programs and Preferences”; and (iii) Executive Order No. 14173, “Ending Illegal

13   Discrimination and Restoring Merit-Based Opportunity” (collectively, the “Executive Orders”),

14   and related agency directives that seek to enforce the Executive Orders.

15      A. The NY LGBT Center is a Cornerstone of New York City’s LGBTQ+ Community.

16          3.      The NY LGBT Center is a not-for-profit 501(c)(3) organization based in New York,

17   NY. We were established in 1983 at the height of the AIDS crisis to provide a safe and affirming

18   place for LGBTQ+ New Yorkers to respond to the urgent threats facing the community. Over the

19   last 40 years, the NY LGBT Center has grown to meet the changing needs of New York’s

20   LGBTQ+ community, delivering services that empower people to lead healthy, successful lives.

21   Today, our commitment to justice and eliminating stigma continues as it grows to meet the needs

22   of LGBTQ+ New Yorkers.

23          4.       The NY LGBT Center has over 300,000 annual visitors; 400 community groups

24   call our space home; and we offer a host of direct services to those seeking accessible, affordable,

25   and affirming support. Every week, the NY LGBT Center receives over 6,000 visits from

26   individuals seeking our wide range of services, including recovery and wellness programs,

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28                                                    1
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 1   economic advancement initiatives, family and youth support, advocacy, arts and cultural

 2   programming, and space for community organizing, connection, and celebration.

 3          5.      The NY LGBT Center is also a cornerstone of LGBTQ+ culture in New York City.

 4   It is where, on any given day, you can catch a premiere on our 22-foot screen, hear dynamic

 5   musical talent, listen as prominent authors and public figures discuss their work, or attend a

 6   theatrical presentation. From Keith Haring’s iconic “Once Upon a Time” mural to the many

 7   portraits that double as walls, art has been an integral part of The Center’s history of activism in

 8   the city. Queer artists used their work to address issues of AIDS, homophobia, and social justice,

 9   helping to raise awareness and promote change. Our LGBT Center National History Archive is a

10   community-based archive that collects, preserves, and makes available to the public the

11   documentation of LGBTQ+ lives and organizations centered in and around New York. Through

12   our collections, we enable the stories and experiences of New York’s LGBTQ+ people to be told

13   with historical depth and understanding. Through art and history, we have been able to express

14   ourselves, see and share our stories, and fight for our rights, leaving a lasting impact on the city’s

15   cultural landscape.

16          6.      Every year, the NY LGBT Center hosts events around the Trans Day of

17   Remembrance (“TDOR”) and Trans Day of Visibility (“TDOV”). For TDOR, we hold a candle-

18   lit vigil to memorialize those who have been killed because of anti-transgender violence and bring

19   attention to the continued brutality endured by the trans and gender-expansive members of our

20   community.     It also features storytellers (music, poetry, dance, etc.) sharing their personal

21   reflections of hope, grief, solidarity, and resilience. For TDOV, we hold a Trans Day of Visibility

22   Market, which is a market entirely curated by our trans and gender-expansive community to

23   include creatives and small business owners selling handmade crafts, jewelry, original art, and

24   more. This market also features a free legal name change clinic for community members.

25          7.      Additionally, the NY LGBT Center offers numerous social support groups to seek

26   community and social support. These are spaces for community members to openly discuss their

27   experiences as transgender, gender expansive/nonconforming, nonbinary, and genderqueer

28                                                     2
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 1   individuals.     The NY LGBT Center has dedicated groups to support trans and gender

 2   nonconforming Black, Indigenous, and People of Color (“BIPOC”) for explorations and

 3   engagement around identity, gender, race, and life experiences.

 4          8.        The NY LGBT Center also offers a healthy environment for transgender and gender

 5   nonconforming community members, as well as their partners and families, to connect with others

 6   going through similar experiences. Starting with our Gender Identity Project, created in 1989, our

 7   services for transgender and gender nonconforming community members have evolved over time

 8   to include a range of advocacy, education, and economic stability initiatives. Programming for

 9   the transgender and gender nonconforming communities at the NY LGBT Center also provides an

10   opportunity for members to interact with other trans-identified and allied community members and

11   service providers. We offer counseling, referral services, resources for skills-building and career

12   development, and a range of support groups for our transgender and gender nonconforming

13   community members all in a supportive environment.

14          9.        Despite legal protections in New York State, the effects of discrimination continue

15   to place transgender and gender nonconforming community members at extremely high rates of

16   poverty, unemployment, underemployment, and homelessness. The NY LGBT Center provides

17   services to directly combat this inequality, including individual career coaching support, case

18   management, events focused on career exploration, legal workshops, and networking

19   opportunities.

20          10.       The NY LGBT Center also is a hub for LGBTQ+ organizing, activism, and

21   advocacy. We serve as a catalyst for progressive social change. Our advocacy is grounded in

22   creating a strategic policy agenda that features policy analysis, forums, and enforcement efforts.

23   The NY LGBT Center is the administrator of the New York State Lesbian, Gay, Bisexual and

24   Transgender Health & Human Services Network, which is a coalition consisting of 62 LGBTQ-

25   specific and LGBTQ-supportive nonprofit organizations that provide care to LGBTQ+ New

26   Yorkers and their families.

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28                                                     3
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 1          11.     In short, the NY LGBT Center is a place of safety, connection, activism, and joy.

 2   For many members of the LGBTQ+ community, the NY LGBT Center is a lifeline.

 3       B. The NY LGBT Center Offers a Range of Services to the LGBTQ+ Community Using
            Federal Funds That Have Been Put at Risk by the Executive Orders.
 4

 5          12.     Diversity, equity, and inclusion, and the recognition of and support for transgender
 6   individuals is woven into the very fabric of the NY LGBT Center’s mission and are at the heart of
 7   the behavioral and mental health, substance use, and other services we offer by acknowledging
 8   that certain communities have been historically neglected and harmed by racism, transgender bias,
 9   sexism, and poverty. This includes LGBTQ+ people who are BIPOC, transgender, poor/working-
10   class, living with HIV/AIDS, immigrants, and/or youth. The NY LGBT Center puts these
11   communities at the center of all our work and is committed to serving all members of the LGBTQ+
12   community.
13          13.     Over $2 million of the NY LGBT Center’s annual budget comes from federal
14   funding, both in direct grants from federal agencies and in pass-through federal funds received
15   from New York State agencies. This accounts for approximately 12% of the NY LGBT Center’s
16   annual budget.1
17          14.     The NY LGBT Center receives direct funding from the federal government via
18   grant agreements with the Substance Abuse and Mental Health Services Administration
19   (“SAMHSA”) and the Office of Victims of Crime within the U.S. Department of Justice.2 The
20
     1
21     The NY LGBT Center also has an $856,000 grant from the federal Health Resources and Services
     Administration (“HRSA”) for a capital project to upgrade the HVAC system in its building and
22   other necessary upgrades to The Center’s physical infrastructure. These upgrades are necessary
     to keep the NY LGBT Center’s employees, visitors, and the community it serves healthy and to
23
     allow its space to continuing functioning. Given the broad and vague language in the Executive
24   Orders, and their apparent intent to cut-off funding to organizations, like the NY LGBT Center,
     with a focus on diversity, equity, and inclusion and historically marginalized groups, including
25   members of the LGBTQ+ community, it is unclear whether the NY LGBT Center can make the
     representations that HRSA will likely require for the NY LGBT Center to continue to receive this
26   grant.
     2
       Upon information and belief, SAMHSA is a branch of the U.S. Department of Health and Human
27
     Services.
28                                                   4
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 1   NY LGBT Center also receives indirect pass-through funding via various New York State

 2   agencies, including the New York State Office of Victim Services, the New York State Department

 3   of Health, and the New York State Office of Addiction Services and Support (“OASAS”).

 4          15.     The direct and indirect federal funds the NY LGBT Center receives are critical to

 5   its ability to provide the range of important services it offers to members of the LGBTQ+

 6   community. These funds are used to support services including substance use treatment and

 7   prevention, youth programming, HIV testing and prevention, mental health counseling, case

 8   management, support for survivors of violence, training for clinicians and capacity building for

 9   other providers on working with the LGBTQ+ community, and more. The federal funds the NY

10   LGBT Center receives are also used to support several full-time employees whose work is

11   necessary to provide these services.

12          i. The NY LGBT Center provides a range of behavioral and mental health services that
               we would not be able to provide if our federal funding is terminated.
13

14          16.     The NY LGBT Center’s behavioral and mental health services represent a holistic

15   approach to wellness and empowerment for the LGBTQ+ community. This includes recovery

16   programming designed to help our community lead healthy lives through substance use treatment,

17   mental health counseling, recovery groups, HIV/AIDS testing and education. The NY LGBT

18   Center also provides services and programs designed for LGBTQ+ young people in a safe,

19   inclusive, affirming environment where they can connect with peers, build leadership skills, and

20   take care of their mental and physical health.        If the NY LGBT Center does not have

21   programming in a particular area, we help connect clients to those needed services, which can

22   include anything from identifying affirming medical providers, securing housing support, or

23   connecting with legal services. Finding affirming providers and service organizations is critical to

24   navigating life as a LGBTQ+ person.

25          17.     It is well-researched and established that health disparities amplify due to the

26   intersectionality of oppression. When it comes to those disproportionately impacted by HIV, there

27   are significant disparities for LGBTQ+ men of color and transgender women of color. The NY

28                                                    5
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 1   LGBT Center’s services are designed to meet the needs of those whose health is most impacted by

 2   social inequities. This includes those who experience the greatest barriers, who have the least

 3   access, and those who are afraid to come forward for care due to stigma, mistrust, and

 4   traumatization. The NY LGBT Center offers a wide range of LGBTQ+-specific outreach,

 5   prevention, and treatment services specifically designed to remove barriers and facilitate access to

 6   care. We offer education, outreach, economic stability, treatment, and prevention initiatives to

 7   address the disparities in access, service use, and outcomes for LGBTQ+ minority populations

 8   with substance use disorders and co-occurring substance use and mental health disorders who are

 9   at risk for or living with HIV/AIDS. We also work to serve the critical need for strategic outreach,

10   education, and support to reduce the HIV infection rate and increase the viral suppression rate

11   among populations most at risk.3

12          18.     As part of this work, the NY LGBT Center runs an HIV & Sexual Health Services

13   program that provides HIV and Hepatitis C testing and community outreach services to BIPOC,

14   queer, trans, and gender nonconforming community members. This program is paid for by funds

15   received under a five-year grant agreement (for the period August 2020 through August 2025) with

16   SAMHSA titled Reducing Youth Substance Use for LGB and TGNC individuals in NYC (the

17   “RYSULT Grant”). The goal of the RYSULT Grant as stated in the grant agreement with

18   SAMHSA is to “provide training and education around the risks of substance misuse, education

19   on HIV/AIDS to youth ages 13-24 living in NYC, specifically targeting racial minorities, and

20
     3
21     Although there have been gains toward ending the HIV/AIDS epidemic in New York City,
     inequities persist across many communities. Of all cisgender and transgender women newly
22   diagnosed with HIV in 2020, 92% were Black or Latina; and of all cisgender and transgender men
     newly diagnosed, 79% were Black or Latino. Of all men newly diagnosed with HIV in 2020, 59%
23
     were MSM; of these, 78% were Black or Latino, with 79% of these aged 20-39 years. Nearly half
24   of New Yorkers newly diagnosed with HIV in 2020 lived in neighborhoods of high or very high
     poverty. See NYC Department of Health. (2021, December 1). New HIV Diagnoses in New York
25   City Declined 21% From 2019 to 2020. https://www1.nyc.gov/site/doh/about/press/pr2021/new-
     hiv-diagnoses. The NY LGBT Center works to reduce the disparities in access, service use, and
26   outcomes by addressing and mitigating these barriers through the use of specially trained
     counselors and clinicians who are culturally competent for the LGBTQ+ community and who have
27
     experience supporting and addressing the multifaceted needs of those who seek their services.
28                                                    6
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 1   needed linkages to service provision for youth with HIV.” Pursuant to the RYSULT Grant, the

 2   NY LGBT Center is to receive $200,000 per year from SAMHSA and those funds also support

 3   2.8 full-time employees necessary to provide these services.

 4          19.     The NY LGBT Center also provides medical insurance enrollment services to

 5   LGBTQ+ individuals in New York City pursuant to a grant from the New York State Department

 6   of Health using pass-through funds the state receives from the Centers for Medicare & Medicaid

 7   Services (“CMS”). 4 This grant’s goal is to “increase access to health insurance in the LGBT

 8   community” and expressly prohibits the NY LGBT Center from discriminating based on “gender

 9   and gender identity” (among other categories). This grant further specifies that the NY LGBT

10   Center’s “outreach will focus particularly on vulnerable and hard to reach populations, particularly

11   the LGBTQ and Latinx (gender-neutral term for queer people of Latin American descent)

12   community.” Pursuant to this grant, the NY LGBT Center is to receive $501,346 per year through

13   July 2025 to provide health insurance enrollment assistance to individuals eligible for insurance

14   through the New York State health insurance marketplace under the federal Affordable Care Act.

15   These funds also support 4.72 full-time employees necessary to provide these services.

16          20.     Given the broad and vague language in the Executive Orders, we cannot understand

17   how to comply in order continue to receive federal funding. Executive Orders 14151 and 14173

18   purport to prohibit “illegal DEI” initiatives, yet they fail to define what they mean by “DEI” and

19   what now would be considered unlawful under federal law.

20          21.     The NY LGBT Center’s SAMSHA and CMS grants require that we provide

21   targeted services to underserved minority populations. By their terms, these grants require an

22   “equity” lens which appears to violate the DEI prohibitions. We cannot determine how to comply

23   with the Executive Orders without simultaneously violating the requirements of these grants. We

24   are already planning for the event if the NY LGBT Center is prohibited from receiving these funds.

25   We will be required to eliminate staff roles and will be unable to continue to provide many of the

26
     4
      Upon information and belief, CMS is a branch of the U.S. Department of Health and Human
27
     Services.
28                                                    7
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 1   important and necessary behavioral and mental health services we currently provide to an

 2   otherwise underserved population that are supported by grants from SAMHSA and the NY

 3   Department of Health.

 4          ii. The NY LGBT Center provides a range of substance abuse services that we would
                not be able to provide if our federal funding is terminated.
 5

 6          22.     The NY LGBT Center provides the only licensed substance use program in New
 7   York City designed specifically to address the unique needs of LGBTQ+ youth. A significant part
 8   of this program is funded through SAMHSA, through a grant awarded in September 2020 and
 9   titled Substance Abuse Services and HIV Intervention Project 2 (the “SASHI 2 Grant”). Under
10   the terms of the SASHI 2 Grant, the NY LGBT Center is to receive $500,000 per year through
11   September 2027. These funds are used to provide substance use treatment and prevention
12   counseling and mental health counseling for the LGBTQ+ community in New York City. Using
13   this funding, the NY LGBT Center provides programming to increase engagement in care for racial
14   and ethnic underrepresented individuals ages 13+ with substance use disorders and co-occurring
15   substance use and mental health disorders who are at risk for, or are living with, HIV/AIDS and
16   receive HIV/AID services/treatment.
17          23.     The service emphasis in the SASHI 2 Grant is “caring for those most at risk for
18   HIV: men who have sex with men (MSM), especially young MSM ages 12-25 (YMSM);
19   transgender individuals, especially those involved with sex work and transactional sex; HIV-
20   negative partners of individuals living with AIDS; minorities in the LGBTQ+ community who are
21   Black and/or Latino/Hispanic, low-income, and/or non-English speaking or English as a Second
22   Language.” The NY LGBT Center has designed its programming and activities to achieve this
23

24

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28                                                 8
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 1   service emphasis.5 These funds also support 4.8 full-time employees necessary to provide these

 2   services.

 3          24.     The NY LGBT Center was also awarded a five-year grant in September 2024 by

 4   SAMHSA, titled Supporting LGBTQI+ Youth in NYC through Prevention, Resources,

 5   Information, Data, and Evaluation (the “PRIDE Grant”). Under the PRIDE Grant, the NY LGBT

 6   Center is to receive $375,000 per year from SAMHSA through September 2029. The funds

 7   received under the PRIDE Grant will be used to run a program, which the NY LGBT Center is in

 8   the process of launching the training, to reduce the onset and progression of substance use and its

 9   related problems in LGBTQ+ youth through training and data collection. As part of this program,

10   the NY LGBT Center will conduct training to increase the capacity of prevention providers and

11   stakeholders throughout New York City to improve their ability to deliver affirming and inclusive

12   services, including to support substance abuse capacity training for school substance use

13   counselors and youth service workers on providing affirming substance use prevention services to

14   LGBTQ+ youth in school and community settings across New York City. The funds the NY

15   LGBT Center is to receive under the PRIDE Grant also support 1.3 full-time employees necessary

16   to run the program.

17          25.     Additionally, the NY LGBT Center receives $149,136 per year in federal pass-

18   through funds from OASAS via SAMHSA. The NY LGBT Center’s grant agreement with

19   OASAS is for five years, from September 2021 through September 2026, and requires the NY

20   LGBT Center to provide SBRIT screening (Screening, Brief Intervention, and Referral to

21   Treatment) for high school age students. SBRIT is an evidence-based approach used to identify,

22   reduce, and prevent problematic substance use and connect young people to care when screened

23   5
       Nearly 65% of the LGBTQ+ youth of color the NY LGBT Center serves report that they are
24   barely getting by. Overall, LGBTQ+ youth of color are twice as likely to use substances and
     struggle with low educational attainment and employability due to the systemic barriers they face.
25   The NY LGBT Center’s youth programming tackles drivers of poverty and empowers LGBTQ+
     youth of color to become healthy, successful adults. Over 75% of the NY LGBT Center’s youth
26   program participants are people of color. In light of the COVID pandemic, the isolation and
     challenges facing LGBTQ+ youth of color have been immense, but the NY LGBT Center has been
27
     able to adapt by serving these youth and is committed to continuing that work.
28                                                   9
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 1   positive. The funds the NY LGBT Center receives from OASAS also support 2.7 full-time

 2   employees necessary to provide these services.

 3          26.     Given the broad and vague language in the Executive Orders, and their apparent

 4   intent to cut-off funding to organizations, like the NY LGBT Center, with a focus on diversity,

 5   equity, and inclusion and historically marginalized groups, including members of the LGBTQ+

 6   community, it is unclear whether the NY LGBT Center can make the representations that

 7   SAMHSA will likely require for the NY LGBT Center to be able to continue to receive the funding

 8   under its grants with SAMHSA and OASAS. If the NY LGBT Center is prohibited from receiving

 9   these funds, we will be required to eliminate staff roles and will be unable to continue to provide

10   many of the important and necessary substance abuse treatment and prevention services it currently

11   provides to an otherwise underserved, and disproportionally at-risk population that are supported

12   by our grants from SAMHSA and OASAS.

13          iii. The NY LGBT Center provides necessary services to victims of crime that we would
                 not be able to provide if our federal funding is terminated.
14

15          27.     People identifying as LGBTQ+ suffer from violent crimes at a disproportionately
16   higher rate than their non-LGBTQ+ counterparts. The U.S. Department of Justice’s Office for
17   Victims of Crime Human Trafficking Task Force reports that LGBTQ+ individuals are more likely
18   to be bullied by their peers, ostracized by their communities, or vulnerable to human trafficking.
19   According to the Family and Youth Services Bureau within the Administration for Children and
20   Families at the U.S. Department of Health and Human Services, LGTBQ+ youth account for up
21   to 40% of the runaway and homeless youth population. The U.S. Centers for Disease Control and
22   Prevention (“CDC”) has acknowledged that almost half (47.5%) of American Indian/Alaska
23   Native women, 45.1% of non-Hispanic Black women, 37.3% of non-Hispanic White women,
24   34.4% of Hispanic women, and 18.3% of Asian-Pacific Islander women experience contact sexual
25   violence, physical violence, and/or stalking by an intimate partner in their lifetime. And LGBTQ+
26   women, trans people and non-binary people are equally as likely, if not more so, than their
27   cisgender and heterosexual peers to have experienced IPV at some point in their lifetimes. The NY
28                                                    10
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 1   LGBT Center’s staff’s work is to understand and address the systemic obstacles to services

 2   members of the LGBTQ+ community face due to their race, gender identity, immigration status

 3   or other historically oppressed identities.

 4          28.      The NY LGBT Center’s work in this area is funded, in part, by a grant from the

 5   New York State Office of Victims’ Services (“OVS”) using pass-through federal funding OVS

 6   receives from the U.S. Department of Justice, Office of Victims of Crime (“DOJOVC”). That

 7   grant requires the funding received by the NY LGBT Center be used specifically to help LGBTQ+

 8   individuals (a population OVS has identified as “Underserved”) directly confront and heal from

 9   traumas resulting from violent crime. The NY LGBT Center’s grant with OVS is for a three-year

10   period from October 2022 through September 2025 and the NY LGBT Center is in the process of

11   applying to renew the grant. The NY LGBT Center receives $277,127 per year in grant funds

12   from OVS and those funds are used to provide case management, counseling services and

13   resources for survivors of crime, including hate crimes and intimate partner violence. The funds

14   received through the OVS grant also support 1.8 full-time employees.

15          29.     The NY LGBT Center also has a grant agreement directly with the DOJOVC

16   pursuant to which the NY LGBT Center is to receive $100,000 per year from October 2024 through

17   September 2026. The funds received through this grant are to provide direct care to victims of

18   crime like transportation, temporary hotel stays, food, and personal care. The funds received

19   directly from DOJOVC will support one full-time employee to administer the direct care and

20   conduct intake for internal or external referrals for ongoing support.

21          30.     Given the broad and vague language in the Executive Orders, and their apparent

22   intent to cut-off funding to organizations, like the NY LGBT Center, with a focus on diversity,

23   equity, and inclusion that supports historically marginalized groups, including members of the

24   LGBTQ+ community, it is unclear whether the NY LGBT Center can make the representations

25   the Department of Justice will likely require for the NY LGBT Center to be able to continue to

26   receive the funding under its grant agreements with OVS and DOJOVC. If the NY LGBT Center

27   is prohibited from receiving these funds, we will be required to eliminate staff roles and will be

28                                                   11
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 1   unable to continue to provide many of the important and necessary services we currently provides

 2   to an otherwise underserved population of crime victims that are supported by our grants from

 3   OVS and DOJVOC.

 4      C. The NY LGBT Center Cannot Operate without Recognizing the Transgender
           Community.
 5

 6          31.     The NY LGBT Center serves as a vital resource for the LGBTQ+ community,
 7   providing essential services, programs, and support to individuals of diverse sexual orientations,
 8   gender identities, and expressions. The NY LGBT Center’s ability to function depends entirely
 9   on its commitment to inclusivity and its acknowledgment of transgender and gender-diverse
10   individuals.
11          32.     One of the NY LGBT Center's core purposes is recognizing and affirming the
12   existence of transgender and gender-diverse individuals. The Executive Orders’ mandate to reject
13   or refrain from acknowledging gender identity as distinct from sex assigned at birth would
14   undermine our foundational principles and its day-to-day operations. If the NY LGBT Center
15   were compelled to comply, we would face the untenable choice of either violating our deeply held
16   mission or risking legal consequences for noncompliance. Compliance with the Executive Order
17   would dismantle the NY LGBT Center's identity, rendering us incapable of serving the community
18   we were established to support.
19          33.     The NY LGBT Center is a trusted institution within the community, serving
20   thousands of clients annually. If forced to comply with the Executive Order, the loss of services
21   targeted by the Executive Orders would sever the NY LGBT Center's trust with the transgender
22   community, leaving many individuals without crucial support. This breakdown in trust would
23   have cascading effects, furthering the already significant barriers to accessing healthcare and social
24   services that this marginalized population faces..        Our programs designed for LGBTQ+
25   individuals, particularly those addressing mental health, HIV prevention, and crisis intervention,
26   require a gender-affirming approach. Removing transgender identity from these programs would
27

28                                                    12
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 1   make them ineffective, invalidating the expertise and credibility of the NY LGBT Center’s staff

 2   and reducing the impact of our services

 3          34.     The Executive Order targeting "gender ideology" presents an existential threat to

 4   the NY LGBT Center's mission, programs, and the well-being of its clients. This Executive Order

 5   would definitively have health and safety implications for the communities we serve. Compliance

 6   would necessitate abandoning the recognition and affirmation of transgender and gender-diverse

 7   individuals, effectively erasing a significant portion of the community the NY LGBT Center exists

 8   to serve. Such a requirement is antithetical to our values, would cause demonstrable harm to

 9   vulnerable populations, and undermine critical public health efforts. As such, the NY LGBT

10   Center seeks relief from the implementation of this harmful and discriminatory policy to preserve

11   our mission and continue our essential work in supporting all members of the LGBTQ+

12   community.

13      D. The NY LGBT Center Has Received a Notice Implementing the Executive Orders.
14
            35.     On January 31, 2025, the NY LGBT Center received the following notice via email
15
     from HRSA:
16
            Dear Recipient:
17
            Your Health Resources and Services Administration (HRSA) award is funded in whole or
18
            in part with U.S. government funds.
19
            Effective immediately, HRSA grant funds may not be used for activities that do not align
20          with Executive Orders (E.O.) entitled Ending Radical and Wasteful Government DEI
            Programs and Preferencing, Initial Rescissions of Harmful Executive Orders and Action,
21          Protecting Children from Chemical and Surgical Mutilation, and Defending Women from
            Gender Ideology Extremism and Restoring Biological Truth to the Federal Government
22          (Defending Women). Any vestige, remnant, or re-named piece of any programs in conflict
23          with these E.O.s are terminated in whole or in part.

24          You may not incur any additional costs that support any programs, personnel, or activities
            in conflict with these E.O.s
25
            If you have any questions, contact us at DGMOCommunications@hrsa.gov.
26
     (emphasis added.)
27

28                                                  13
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 1          36. A true and correct copy of the January 31, 2025 notice the NY LGBT Center received

 2   from HRSA is attached hereto as Exhibit A.6

 3

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26
     6 The email address of the NY LGBT Center email address to which the notice was directed as
27
     been redacted.
28                                                 14
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                 EXHIBIT A
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---------- Forwarded message ---------
From: Health Resources and Services Administration <hrsa@public.govdelivery.com>
Date: Fri, Jan 31, 2025 at 4:07 PM
Subject: Important Message for HRSA Award Recipients
To:          @gaycenter.org>




                 Dear Recipient:

                 Your Health Resources and Services Administration (HRSA) award is
                 funded in whole or in part with U.S. government funds.

                 Effective immediately, HRSA grant funds may not be used for activities
                 that do not align with Executive Orders (E.O.) entitled Ending Radical and
                 Wasteful Government DEI Programs and Preferencing, Initial Rescissions
                 of Harmful Executive Orders and Action, Protecting Children from
                 Chemical and Surgical Mutilation, and Defending Women from Gender
                 Ideology Extremism and Restoring Biological Truth to the Federal
                 Government (Defending Women). Any vestige, remnant, or re-named


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